           Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 1 of 17




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10
                              UNITED STATES DISTRICT COURT
11
                      NORTHERN DISTRICT OF CALIFORNIA (Oakland)
12

13
         CENTER FOR BIOLOGICAL                         Case. No. 4:19-cv-05206-JST
14       DIVERSITY, ET AL.,
                                                       REPLY IN SUPPORT OF
15                          Plaintiffs,                FEDERAL DEFENDANTS’
                                                       MOTION FOR VOLUNTARY
16                                 vs.                 REMAND

17       HAALAND, ET AL.,                              Date: TBD1
                                                       Time: TBD
18                          Federal Defendants.        Place: Courtroom 6, 2nd Floor
                                                       Judge: The Honorable Jon S. Tigar
19

20

21

22

23   1The Court has suspended the summary judgment briefing schedule while it
     considers the motion to remand and has indicated that it will issue an order on the
24   motion to remand in February 2022 without oral argument. ECF 171.

     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
           Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 2 of 17




 1                                                 TABLE OF CONTENTS

 2
                                                                                                                               Pages
 3
     INTRODUCTION .......................................................................................................... 1
 4

 5   ARGUMENT .................................................................................................................. 3
 6
       I. THE COURT SHOULD REMAND THE 2019 ESA RULES WITHOUT
 7
       VACATUR. ................................................................................................................. 3
 8
          A.       Remand is Appropriate. ................................................................................ 3
 9

10        B.       Vacatur of the 2019 ESA Rules is Not Warranted. ..................................... 5
11
          C.   The Court Should Deny Plaintiffs’ Alternative Request to Adjudicate the
12
          Merits. ..................................................................................................................... 9
13
     CONCLUSION ............................................................................................................ 11
14

15

16

17

18

19

20

21

22

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24


                                                                      i
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
          Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 3 of 17




 1                                                   Table of Contents

 2
     Cases                                                                                                          Pages
 3

 4   Am. Rivers v. Arkansas
       No. 21-16961 (9th Cir. Nov. 22, 2021)…………………………………………………..11
 5
     Cal. Cmtys. Against Toxics v. EPA,
 6     688 F.3d 989 (9th Cir. 2012) .................................................................................. 4, 5

 7   California v. Haaland,
       No. 19-cv-6013 (N.D. Cal., Sept. 25, 2019)……………………………………………….1
 8
     FCC v. Fox Television Stations,
 9     556 U.S. 502 (2009) .................................................................................................... 9

10   In re Clean Water Act Rulemaking,
       No. C 20-04636 WHA, 2021 WL 4924844 (N.D. Cal. Oct. 21, 2021) ...................... 10
11
     Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs.,
12
       545 U.S. 967 (2005) .................................................................................................... 4
13
     Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
14     No. 01-00640-RE, 2005 WL 1278878 (D. Or. 2005) .................................................. 7

15   Pascua Yaqui Tribe v. United States Env't Prot. Agency,
       No. CV-20-00266-TUC-RM, 2021 WL 3855977 (D. Ariz. Aug. 30, 2021) ............... 11
16

17   SEC v. Chenery Corp.,
       332 U.S. 194 (1947) .................................................................................................... 4
18
     Sovereign Inupiat for a Living Arctic v. Bureau of Land Mgmt.,
19     No. 3:20-cv-00290-SLG, 2021 WL 3667986 (D. Alaska Aug. 18, 2021)................ 6, 7

20
     State of California v. Regan,
21     No. 20-cv-03005-RS, 2021 WL 4221583 (N.D. Cal. Sept. 16, 2021) ....................... 11

22   Sweet Home Chapter of Cmtys. for a Great Or. v. Babbitt,
       1 F.3d 1 (D.C. Cir. 1993) ............................................................................................ 4
23

24


                                                                 ii
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
           Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 4 of 17




 1   Town of Chester, N.Y. v. Laroe,
       Ests., 137 S. Ct. 1645 (2017) .................................................................................. 7, 8
 2
     Waterkeeper All., Inc. v. United States. Env’tl Prot. Agency,
 3
       No. 18-cv-03521-RS, 2021 WL 4221585 (N.D. Cal. Sept. 16, 2021) ....................... 11
 4
     Weyerhaeuser Co. v. FWS,
 5     139 S. Ct. 361 (2018) .................................................................................................. 4

 6   Federal Statutes

 7   16 U.S.C. § 1533 .......................................................................................................... 10

 8   16 U.S.C. § 1536(a)(2).................................................................................................. 10

 9   Federal Regulations

10   84 Fed. Reg. 44753 .................................................................................................... 1, 7

11   84 Fed. Reg. 44976 ........................................................................................................ 1

12   84 Fed. Reg. 45020 ........................................................................................................ 1

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                                                                   iii
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 5 of 17




 1                                        INTRODUCTION

 2          The Court should grant the Federal Defendants’ motion for an order

 3   remanding, without vacatur, the Endangered Species Act (“ESA”) rules

 4   promulgated by the U.S. Fish and Wildlife Service (“FWS”) and the National
 5   Marine Fisheries Service (“NMFS”) (collectively, “Services”) in 2019. 84 Fed. Reg.
 6
     45020 (“Section 4 Rule”); 84 Fed. Reg. 44753 (“Section 4(d) Rule”); 84 Fed. Reg.
 7
     44976 (“Section 7(a)(2) Rule”) (collectively, “2019 ESA Rules”). ECF 165.2 In
 8
     support of this request for voluntary remand, the Services provided the Third
 9
     Declaration of Gary Frazer (“Third Frazer Decl.”) (ECF 165-1) and the Fourth
10
     Declaration of Samuel Rauch (“Fourth Rauch Decl.”) (ECF 165-2). These
11
     declarations identified legitimate and serious concerns with certain provisions of
12
     the 2019 ESA Rules, as well as with the adequacy of the record supporting the
13
     Services’ National Environmental Policy Act (“NEPA”) determinations. This
14
     request for voluntary remand was neither frivolous nor made in bad faith, and so it
15
     should be granted under prevailing precedent.
16
            Seventeen States, the District of Columbia, and the City of New York (“State
17
     Plaintiffs”), the Center for Biological Diversity and other non-governmental
18
     organizations (“CBD Plaintiffs”), and the Animal Legal Defense Fund (“ALDF”)
19

20   (collectively, “Plaintiffs”) acknowledge that Federal Defendants have identified

21

22
     2Federal Defendants are filing an identical reply brief in all three related cases but
23   will use the ECF numbers in California v. Haaland, 19-cv-6013 (N.D. Cal. 2019)
     unless otherwise noted.
24


                                                    1
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 6 of 17




 1   substantial concerns with the 2019 ESA Rules and do not argue that the request for

 2   voluntary remand was frivolous or made in bad faith. ECF 170. Plaintiffs,

 3   however, oppose Federal Defendants’ motion on the basis that the Court should

 4   vacate the 2019 ESA Rules.
 5          The State Intervenors and Industry Intervenors similarly acknowledge that
 6
     Federal Defendants’ request meets the standard for voluntary remand and do not
 7
     oppose the motion. ECF 172 at 7; ECF 174 at 5. The Landowner Intervenors do not
 8
     argue that Federal Defendants’ request for voluntary remand was frivolous or made
 9
     in bad faith, but they oppose remand of the Section 4(d) Rule and a provision they
10
     term “Rule for Designating Unoccupied Areas” because the Services allegedly lack
11
     “discretion” to revise these regulatory provisions on remand. ECF 173 at 7-8. All of
12
     the Intervenors urge this Court not to vacate the 2019 ESA Rules.
13
            Combined, no party disputes that the Services have shown substantial
14
     concerns with the 2019 ESA Rules, thereby meeting the standard for voluntary
15
     remand. The more pressing issue for this Court is whether it can or should vacate
16
     the 2019 ESA Rules. As explained in Federal Defendants’ motion, the Court should
17
     not vacate the 2019 ESA Rules because the Services are well-equipped and best-
18
     positioned to address their substantial concerns with the rules on remand, vacatur
19

20   would be disruptive and potentially confusing to the public, and Plaintiffs present

21   no evidence of real and tangible harm likely to occur during the remand period.

22          In contrast, remand without vacatur will allow the Services to address

23   specific regulatory provisions through notice and comment rulemaking under the

24


                                                    2
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 7 of 17




 1   Administrative Procedure Act (“APA”), just as Congress envisioned. Accordingly,

 2   the Court should grant Federal Defendants’ motion for remand without vacatur and

 3   deny Plaintiffs’ motions for summary judgment.

 4                                           ARGUMENT
 5      I.      THE COURT SHOULD REMAND THE 2019 ESA RULES WITHOUT
                VACATUR.
 6
             A. Remand is Appropriate.
 7

 8           There is significant consensus among the parties that remand is appropriate

 9   under the circumstances here. Plaintiffs, while preserving their objection regarding

10   vacatur, do not ultimately oppose remand. ECF 170 at 8 (“Plaintiffs consequently

11   ask the Court to deny the Services’ remand motion, and instead remand with

12   vacatur . . . .”). State Intervenors are even more inclined towards remand: “Given

13   the lenient standard for voluntary remand in this circuit, the State Defendant-

14   Intervenors do not oppose the Federal Defendants’ motion for voluntary remand

15   without vacatur.” ECF 172 at 7. Industry Intervenors similarly do not oppose.

16   ECF 174 at 5 (“[F]or the sake of judicial efficiency and economy, Industry
17   Intervenors do not oppose the Government’s motion for voluntary remand without
18
     vacatur . . . given the ongoing rulemaking process the outcome of which may narrow
19
     or moot this litigation.”). And although the Landowner Intervenors raise two
20
     concerns, they take “no position” on whether the Court should remand most of the
21
     2019 ESA Rules. ECF 173 at 7 (“Given the limited nature of their intervention, the
22

23

24


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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 8 of 17




 1   Private Landowners take no position on the remainder of the Federal Defendants’

 2   request for voluntary remand.”).3

 3          This consensus is unsurprising given that the Services have provided

 4   evidence of legitimate and substantial concerns with the 2019 ESA Rules. Third
 5   Frazer Decl. ¶ 4-10; Fourth Rauch Decl. ¶ 7-8.4 The Services’ request is neither
 6
     frivolous, nor made in bad faith. It thus meets the standard for voluntary remand
 7
     in this Circuit. See Cal. Cmtys. Against Toxics v. EPA, 688 F.3d 989, 992 (9th Cir.
 8

 9

10
     3 There is no merit to Landowner Intervenors’ argument that the Services lack
     discretion to engage in future rulemaking for the Section 4(d) Rule and what they
11   call “Rule for Designating Unoccupied Areas” on remand. ECF 173 at 21. The
     agencies have discretion to arrive at a different result on remand because no court
12   has foreclosed the agencies’ discretion by finding the relevant statutory provisions
     unambiguous. Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S.
13   967, 984 (2005) (agency interpretations are foreclosed only if the courts find the
     statute is unambiguous); Sweet Home Chapter of Cmtys. for a Great Or. v. Babbitt,
14   1 F.3d 1, 8 (D.C. Cir. 1993) (finding the relevant statutory provision to be
     ambiguous). The Supreme Court in Weyerhaeuser Co. v. FWS, 139 S. Ct. 361
15   (2018), in fact, declined to pre-ordain the precise regulatory criteria for the
     designation of unoccupied critical habitat. Id. at 365-66. In any event, limits on
16   agency discretion need not foreclose rulemaking. An agency, after all, can issue
     rules that comport with those limits, as the Services here could following a remand.
17   SEC v. Chenery Corp., 332 U.S. 194 (1947).
18   4Industry Intervenors argue that Plaintiffs have only challenged certain regulatory
     provisions, while the Services intend to address only specific regulatory provisions
19
     highlighted in the Third Frazer and Fourth Rauch Declarations on remand. ECF
     174 at 9-11. This argument misconstrues the Services’ declarations. The examples
20
     were provided to support the request for voluntary remand, but the agencies also
21   have publicly stated that other potential revisions are under discussion, and they
     would accept public comment on the entirety of all three 2019 ESA Rules. Second
22   Frazer Decl. ¶ 12 (ECF 150-1); Third Rauch Decl. ¶ 10 (ECF 150-2). Industry
     Intervenors’ point thus illustrates why remand without vacatur is appropriate—it
23   would allow the Services to address all facets of the 2019 ESA Rules through APA
     notice and comment rather than potentially severing certain regulatory provisions
24   through partial vacatur.


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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 9 of 17




 1   2012). In light of the Services’ concerns and the relative agreement among the

 2   parties, the Court should remand the 2019 ESA Rules.

 3          B. Vacatur of the 2019 ESA Rules is Not Warranted.

 4          Once the Court addresses the question of remand, it must then decide
 5   whether vacatur is warranted. Under these circumstances, it is not. Federal
 6
     Defendants previously explained that vacatur of the 2019 ESA Rules is not
 7
     warranted because the Services could substantiate their decisions on remand,
 8
     vacatur would disrupt implementation of the ESA, and Plaintiffs demonstrated no
 9
     real harm warranting vacatur during the remand. ECF 165 at 33-37.
10
            The first two points are supported by the Services’ evidence:
11
            Vacatur by the Court would be disruptive of ongoing and future
12          implementation of ESA consultations and listing actions. It would
            cause confusion among the public, other agencies, and stakeholders,
13          and impede the efficiency of ESA implementation, by abruptly altering
            the applicable regulatory framework and creating uncertainty about
14          which standards to apply. In contrast, remand would establish an
            orderly process in which the Services would have the opportunity to
15          present a proposed rule, explain the rationale for proposed changes,
            take public comment, and then, in a final rule, explain to the public
16          and stakeholders which changes were adopted and provide further
            explanation on their interpretation and application.
17
     Fourth Rauch Decl. ¶ 12; see also Second Frazer Decl. ¶ 12. Plaintiffs do not
18
     meaningfully contest that vacatur would be disruptive and potentially
19

20   confusing as these regulations have been in effect for over two years, and

21   vacatur could abruptly alter implementation, thereby creating uncertainty

22   about which standards to apply pending final resolution of the litigation. Id.

23

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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 10 of 17




 1          As for Federal Defendants’ third point, Plaintiffs still have not

 2   established any real or tangible harm from implementation of the 2019 ESA

 3   Rules. Once again, Plaintiffs revert to their now-familiar examples

 4   speculating about uncertain outcomes of ESA implementation. ECF 170 at
 5   19-22. But these examples merely suggest a possibility of harm, at most,
 6
     rather than real or tangible harm that warrants vacatur.
 7
            As explained previously in Federal Defendants’ briefing on the motion
 8
     to stay, Plaintiffs’ two critical habitat references—involving the Mount
 9
     Rainier white-tailed Ptarmigan and Texas hornshell mussel—are both at the
10
     proposed rule stage. ECF 170 at 19-20; but see ECF 156 at 14-16. Until
11
     there are final rules, it is entirely unclear whether the Services will continue
12
     their reliance on these regulatory provisions. Similarly inapposite, the cited
13
     case involving the Willow project in the western Arctic was a challenge to the
14
     Incidental Take Statement (“ITS”) and, while the new regulations were
15
     discussed in that opinion, the outcome did not turn on the new regulations as
16
     they do not address ITSs. See Sovereign Inupiat for a Living Arctic v.
17
     Bureau of Land Mgmt., No. 3:20-cv-00290-SLG, 2021 WL 3667986, at *41 (D.
18
     Alaska Aug. 18, 2021) (“the new regulations do not eliminate the requirement
19

20   in the ESA and the regulations that the ITS ‘[s]pecifies [ ] measures that are

21   necessary to comply with [the Marine Mammal Protection Act],’ . . . .”).

22          Plaintiffs’ reference to the Columbia River litigation remains self-

23   defeating. ECF 170 at 21; ECF 156 at 15. The same contested issue

24


                                                    6
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 11 of 17




 1   Plaintiffs highlight—analysis of the environmental baseline—was present

 2   under the prior regulations as well. Id. (citing Nat’l Wildlife Fed’n v. Nat’l

 3   Marine Fisheries Serv., No. 01-00640-RE, 2005 WL 1278878, at *9-11 (D. Or.
 4   2005)). And Plaintiffs still cannot muster one example of how the Section
 5   4(d) Rule harms their interests, as each threatened listing has included a
 6
     species-specific 4(d) rule. See 84 Fed. Reg. 44753. Although the agencies
 7
     have been implementing these regulations for over two years, Plaintiffs have
 8
     not identified one clear example in which application of the 2019 ESA Rules
 9
     harmed their interests in some real or tangible way.5 Vacatur must be based
10
     on something more than the mere possibility of harm, especially when it will
11
     frustrate the Services’ effective implementation of the ESA. Third Rauch
12
     Decl. ¶ 14.
13
            Likewise, Plaintiffs’ concern that the 2019 ESA Rules would languish
14
     “indefinitely” on remand is not well-founded. ECF 170 at 23. The Services
15
     previously prioritized efforts to engage in rulemaking to address their
16
     concerns with the regulations, precisely as should occur under the APA.
17
     Plaintiffs now lament the Services’ decision to pause the rulemaking given
18
     uncertainties raised by this litigation and argue the rulemaking pause is a
19

20   reason to vacate the rules. ECF 170 at 7. But the Services’ rulemaking

21
     5 The lack of any concrete harm from application of the 2019 ESA Rules applies
22   equally to Intervenor-Defendants. Town of Chester, N.Y. v. Laroe Ests., 137 S. Ct.
     1645, 1651 (2017) (“[A]n intervenor of right must have Article III standing in order
23   to pursue relief that is different from that which is sought by a party with
     standing.”).
24


                                                    7
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 12 of 17




 1   pause is both reasoned and understandable. If the Court were to vacate the

 2   rules or adjudicate the merits, the agencies would have to revise or redo any

 3   proposed rule previously developed or published. It makes little sense to

 4   divert finite and scarce government resources from other priority ESA
 5   implementation activities to develop a proposed rule that may become
 6
     obsolete—a point Plaintiffs notably do not confront. The agencies, moreover,
 7
     have made clear that if the Court grants the remand without vacatur they
 8
     “would again make the rulemaking revisions a high priority, and rulemaking
 9
     would once again proceed expeditiously.” Fourth Rauch Decl. ¶ 11; Third
10
     Frazer Decl. ¶ 14. Plaintiffs provide no evidence that casts doubt on these
11
     representations. The Services can complete this remand in a timely manner,
12
     if given the chance, and they are prepared to resume their rulemaking
13
     processes expeditiously upon remand. Id.
14
            Plaintiffs also suggest that, because the Services have identified
15
     substantial concerns with the 2019 ESA Rules, continued implementation
16
     would force the application of “unlawful” regulations and “insulate the 2019
17
     Rules from judicial review, locking in years’ worth of harm to imperiled
18
     species and their critical habitat with no legal recourse.” ECF 170 at 23, 28.
19

20   This argument is overstated. The Services’ identification of substantial

21   concerns is different from a legal confession of error. Instead, the Services

22   identify these concerns to substantiate how they would like to revisit some of

23   the prior decisions on remand, which is well within their authority. FCC v.

24


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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 13 of 17




 1   Fox Television Stations, 556 U.S. 502, 515 (2009). Continued implementation

 2   is thus not unlawful. Moreover, if Plaintiffs truly believed that the Services

 3   were implementing the rules in an unlawful manner, their recourse lies with

 4   an as-applied challenge.
 5          It is against this backdrop the Services request the opportunity in the
 6
     first instance to bring their ESA expertise to bear on remand. The Services
 7
     here are doing exactly what they should do. When faced with concerns over
 8
     existing rules, the law charts the appropriate path forward—notice and
 9
     comment rulemaking adhering to the requirements of the APA. Allowing the
10
     Services to engage in rulemaking in accordance with the APA benefits the
11
     entire public, including Plaintiffs. Vacatur, in contrast, would disturb this
12
     orderly approach. When the disruptive consequences and potential for
13
     confusion are balanced against the lack of any real harm to Plaintiffs,
14
     vacatur is not warranted. See Fourth Rauch Decl. ¶ 14.
15
            C. The Court Should Deny Plaintiffs’ Alternative Request to
16             Adjudicate the Merits.
17          Plaintiffs argue in the alternative that if the Court is inclined to leave
18
     the rules in place, it should deny Federal Defendants’ motion for voluntary
19
     remand and then adjudicate the merits of their claims. ECF 170 at 28. The
20
     Court should deny this alternative request as well.
21
            The statutory provisions at issue confer substantial discretion to the
22
     Services. These broad statutory mandates leave considerable room for the
23
     Services’ interpretations of the ESA. See 16 U.S.C. §§ 1533, 1536(a)(2).
24


                                                    9
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 14 of 17




 1   While Plaintiffs believe that the Services “will benefit from the Court’s

 2   reasoning when they proceed with any new rulemakings” if Plaintiffs’

 3   challenges are upheld, ECF 170 at 29, such an outcome is far from clear.

 4   Moreover, proceeding to the merits would unnecessarily heighten the chances
 5   of protracted litigation and appeals on a rule that may be substantially
 6
     altered through the normal rulemaking process.
 7
            The expenditure of additional litigation resources is unnecessary.
 8
     Granting Federal Defendants’ motion would provide Plaintiffs with all the
 9
     relief they would be entitled to if they succeeded on the merits of their claims.
10
     The remand would result in a rulemaking that provides an opportunity for
11
     public comment on the entirety of the 2019 ESA Rules and for this
12
     Administration to bring its expertise to bear on the ESA regulations. This
13
     remedy is reasoned and narrowly tailored, and equitably resolves Plaintiffs’
14
     claims. Because the Services are willing to consider whether to rescind or
15
     revise the 2019 ESA Rules on remand, continuing to adjudicate Plaintiffs’
16
     claims does not serve any useful purpose besides perpetuating litigation and
17
     would enmesh the court in issues that should be resolved in the first instance
18
     by the expert agencies.
19

20          Finally, both Plaintiffs and Intervenors recognize the split in

21   authorities in this District over whether a court must adjudicate the merits of

22   Plaintiffs’ claims before vacating challenged regulations. See, e.g., ECF 170

23   at 27; ECF 174 at 15 (citing In re Clean Water Act Rulemaking, No. C 20-

24


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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 15 of 17




 1   04636 WHA, 2021 WL 4924844, at *4 (N.D. Cal. Oct. 21, 2021), appeals

 2   docketed, Am. Rivers v. Am. Petroleum, No. 21-16958, Am. Rivers v.

 3   Arkansas, No. 21-16961 (9th Cir. Nov. 22, 2021); Pascua Yaqui Tribe v.
 4   United States Env't Prot. Agency, No. CV-20-00266-TUC-RM, 2021 WL
 5   3855977, at *4 (D. Ariz. Aug. 30, 2021), appeal docketed, No. 21-16791 (9th
 6
     Cir. Oct. 26, 2021); State of California v. Regan, No. 20-cv-03005-RS, 2021
 7
     WL 4221583 (N.D. Cal. Sept. 16, 2021); Waterkeeper All., Inc. v. United
 8
     States Env’tl Prot. Agency, No. 18-cv-03521-RS, 2021 WL 4221585 (N.D. Cal.
 9
     Sept. 16, 2021). The Court, however, need not reach this issue as it is well
10
     within the Court’s equitable discretion to remand without vacatur.
11
                                           CONCLUSION
12
            Plaintiffs and Intervenors’ oppositions present a stark contrast.
13
     Plaintiffs argue that the 2019 ESA Rules should be vacated in their entirety,
14
     while Intervenors largely contend that the Services will have no choice on
15
     remand but to repromulgate the 2019 ESA Rules. The Services seek a more
16
     modest solution. If given the chance on remand, the Services will bring their
17
     expertise to bear on all of the regulatory provisions addressed in the 2019
18
     ESA Rules. And they will do so using the APA’s rulemaking procedures,
19

20   which will allow the public to participate and provide comments on any

21   regulatory changes. Vacatur, by contrast, would disrupt this more orderly

22   approach; it would stifle rulemaking on important issues and continue to

23   divert scarce resources to litigation. This is unnecessary given the Services

24


                                                   11
     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 16 of 17




 1   willingness to engage in rulemakings on remand. The Court should grant

 2   Federal Defendants’ motion, remand the 2019 ESA Rules without vacatur,

 3   and deny Plaintiffs’ motions for summary judgment.

 4

 5
     DATED: January 3, 2022.
 6

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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 154 Filed 01/03/22 Page 17 of 17




 1                                 CERTIFICATE OF SERVICE

 2    I hereby certify that I electronically filed the foregoing with the Clerk of the Court
     using the CM/ECF system, which will send notification of such to the attorneys of
 3   record.
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 6
                                           /s/ Coby Howell
 7                                         COBY HOWELL, Senior Attorney

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     Reply in Support of Motion for Voluntary Remand, 19-cv-05206-JST
